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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                     )             Civil Action No: 4:22-cv-02651-JD
                                             )
                                             )
                Plaintiff,                   )
                                             )         JERSAM REALTY, INC.’S REPLY IN
                vs.                          )          FURTHER SUPPORT OF MOTION
                                             )             TO ALTER OR AMEND AND
 JERSAM REALTY, INC.,                        )          INCORPORATED MEMORANDUM
                                             )                   IN SUPPORT
               Defendant.                    )


       Counterclaimant/Defendant, Jersam Realty, Inc. (“Jersam” or “Buyer”) submits this brief

reply in further support of its motion to alter or amend (DE 40). Jersam’s motion is tailored to the

Court’s Order (DE 31), and is not merely a rehashing of old arguments. Jersam’s motion falls fairly

within the Court’s discretion. Hughes v. Bedsole, 48 F.3d 1376, 1382 (4th Cir. 1995).

       The Court ruled on a basis that differed from the arguments submitted by the parties and

included factual and legal errors, and accordingly, the motion to alter or amend was the first chance

Jersam had to address those issues. This is a classic scenario giving rise to grounds for relief under

Fed. R. Civ. P. 52(b) and 59(e). See TBG, Inc. v. Bendis, 845 F. Supp. 1459, 1460 (D. Kan. 1994)

(“Appropriate circumstances for a motion to reconsider are where the court has obviously

misapprehended a party’s position on the facts or the law, or the court has mistakenly decided issues

outside of those the parties presented for determination.”). In TBG, the district court reconsidered an

earlier order denying a motion for summary judgment in a breach of contract case as to two of the

defendants based on the moving parties’ arguments that the court had misconstrued applicable law in

reaching its original decision. Id. Jersam contends the same result would be appropriate here to

correct a clear error of law and to prevent manifest injustice.
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        Here, the Court erred in concluding that there had been no breach of Tenant Arcade’s lease.

As reflected in Chalpin’s pleadings, the existence of a breach was not a disputed point. (DE 1 at ¶ 56,

asserting “Section 4.02 does not provide the Defendant with a contractual right of cancellation because a

tenant did not pay rent or abandoned the premises.”; DE 12 at ¶ 158, asserting in an affirmative defense

to Defendant’s Counterclaims that, “Defendant assumed the risk that Tenant Arcade may cease

operations.”).

        In addition, the existence of the breach is fully borne out by the summary judgment record.

(DE 18-13 and 7-1 (emails from Chalpin’s counsel acknowledging that “my client can no longer

restate the representations of Section 4.02 as it pertains to the Arcade as they have failed to pay June,

2022 Rent or Additional Rent and now appear to be abandoning/surrendering the premises” and email

from Chalpin’s property manager that Tenant Arcade’s “moving crew arrived last night,” and that

Tenant Arcade was “moving everything out” for “truck pickup”); DE 21-1 (Chalpin’s attempts to

modify the representations and warranties to state, “Seller hereby affirms that such Seller’s

representations and warranties as set forth in the Contract of Sale and Agreement remain true and correct

in all material respects on the date hereof except that Epic Arcades SC LLC has not paid Rent or

Additional Rent for June, 2022 and, upon information and belief, is surrendering and abandoning

the Premises as of June 14, 2022) (emphasis added))); DE 7-2 (Buyer’s request that Chalpin “let us

know as soon as possible if Seller will be able to effect a cure of the Tenant Breach and proceed towards

Closing,” which was not responded to by Chalpin because it was undisputed that Chalpin was unable to

effect a cure of Tenant Arcade’s breach as Tenant Arcade did not resume operations at the premises prior

to the closing)).1 As a result, the fact of the breach was not a central focus of either party at the

summary judgment stage—there was “no genuine dispute as to [this] material fact” for purposes of



1
 Chalpin Realty SC, LLC (“Chalpin”) points to the testimony establishing the breach in its
memorandum in opposition (DE 48 at 16 of 21).

                                                   2
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Fed.R.Civ.P 56(a), the parties agreed. The Court’s factual error as to the existence of a breach was

exacerbated by the clear legal error in its construction of the parties’ contract based on reasoning that

had not been presented by either party. As such, Jersam’s arguments are not a second bite at the

apple, but are instead a narrowly drafted response to the Court’s specific rulings.

       For these reasons and those presented in its motion, Jersam asks that the Court review the

record, the evidence of breaches of the Tenant Arcade’s lease, and the parties’ entire agreement and

issue an order addressing the issues raised by Jersam. The failure to do so would result in a manifest

injustice resulting in a windfall to Chalpin and depriving Jersam of the benefit of its bargain.



                                               Respectfully Submitted,
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December 11, 2022




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